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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MISSOURI
                                  EASTERN DIVISION

UNITED STATES OF AMERICA,                       )
                                                )
       Plaintiff,                               )
                                                )
v.                                              )   No. 4:10CR471 HEA
                                                )
STANLEY CARTER,                                 )
                                                )
       Defendant.                               )

                                            ORDER

       IT IS HEREBY ORDERED that a hearing on Defendant’s Pro Se Motion to Terminate

Counsel [Doc. #174] and the Motion to Withdraw as Counsel [Doc. 173] is set in this matter for

Friday, January 6, 2011, at 10:30 a.m. in the courtroom of the undersigned.

       Dated this 15th day of December, 2011.




                                             ________________________________
                                                HENRY EDWARD AUTREY
                                              UNITED STATES DISTRICT JUDGE
